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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA


    United States of America                 )          C/R 3:25-592
                                             )
    vs.                                      )
                                             )              ORDER ON
           William Jason Taylor              )       PROSECUTORIAL OBLIGATION
               Defendant.                    )
                                             )
                                             )

          Pursuant to Fed. R. Crim. P. 5(f) and the Due Process Protections Act, Public

Law No. 116-182, 134 Stat. 894 (2020), the Court confirms the United States’

obligation to produce all exculpatory evidence to the defendant pursuant to Brady v.

Maryland, 373 U.S. 83 (1963), and its progeny, and orders it to do so.1 Counsel is

reminded of the possible consequences of violating the Brady rule and/or this Order,

as set forth in applicable law, including, but not limited to, exclusion of evidence,

adverse jury instructions, dismissal of charges, contempt proceedings, and/or

sanctions by the Court. The Clerk of Court is directed to provide a copy of this

Order to the prosecution and defense counsel.

          IT IS SO ORDERED.


May 2, 2025                                      Shiva V. Hodges
Columbia, South Carolina                         United States Magistrate Judge


See generally Long v. Hooks, 972 F.3d 442, 456 (4th Cir. 2020) (en banc) (“Brady v.
1


Maryland instructs that ‘the suppression by the prosecution of evidence favorable to
an accused’ violates due process where the evidence is ‘material either to guilt or to
punishment, irrespective of the good faith or bad faith of the prosecution.’” (quoting
Brady, 373 U.S. at 87)).
